JS 44 (Rev. 10/20)                 Case 1:25-cv-11949CIVIL COVER
                                                       Document 1-2 SHEET
                                                                     Filed 07/09/25                                                                 Page 1 of 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                             DEFENDANTS
       Community Economic Development Center of                                                               Internal Revenue Service and
       Southeastern Massachusetts                                                                             Social Security Administration
   (b) County of Residence of First Listed Plaintiff Bristol                                                  County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
          Luz Arevalo BBO 564011                 Joshua Rosenthal*
          Greater Boston Legal Services          Asian Law Caucus
          197 Friend St., Boston, MA 02114       55 Columbus Ave., San Francisco, CA 94111
          (617) 461-4944                         (628) 345-5628

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                           (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                  3    Federal Question                                                                       PTF        DEF                                         PTF      DEF
         Plaintiff                             (U.S. Government Not a Party)                         Citizen of This State            1          1      Incorporated or Principal Place      ✖ 4      4
                                                                                                                                                          of Business In This State

✖ 2    U.S. Government                  4    Diversity                                               Citizen of Another State            2          2   Incorporated and Principal Place           5    ✖ 5
         Defendant                             (Indicate Citizenship of Parties in Item III)                                                              of Business In Another State

                                                                                                     Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                        Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                                 TORTS                               FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY                 625 Drug Related Seizure             422 Appeal 28 USC 158        375 False Claims Act
  120 Marine                           310 Airplane                    365 Personal Injury -                of Property 21 USC 881           423 Withdrawal               376 Qui Tam (31 USC
  130 Miller Act                       315 Airplane Product                Product Liability            690 Other                                28 USC 157                   3729(a))
  140 Negotiable Instrument                 Liability                  367 Health Care/                                                                                   400 State Reapportionment
  150 Recovery of Overpayment          320 Assault, Libel &                Pharmaceutical                                                    PROPERTY RIGHTS              410 Antitrust
      & Enforcement of Judgment             Slander                        Personal Injury                                                    820 Copyrights              430 Banks and Banking
  151 Medicare Act                     330 Federal Employers’              Product Liability                                                  830 Patent                  450 Commerce
  152 Recovery of Defaulted                 Liability                  368 Asbestos Personal                                                  835 Patent - Abbreviated    460 Deportation
       Student Loans                   340 Marine                          Injury Product                                                         New Drug Application    470 Racketeer Influenced and
       (Excludes Veterans)             345 Marine Product                  Liability                                                          840 Trademark                   Corrupt Organizations
  153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY                          LABOR                        880 Defend Trade Secrets    480 Consumer Credit
      of Veteran’s Benefits            350 Motor Vehicle               370 Other Fraud                  710 Fair Labor Standards                  Act of 2016                 (15 USC 1681 or 1692)
  160 Stockholders’ Suits              355 Motor Vehicle               371 Truth in Lending                 Act                                                           485 Telephone Consumer
  190 Other Contract                       Product Liability           380 Other Personal               720 Labor/Management                  SOCIAL SECURITY                 Protection Act
  195 Contract Product Liability       360 Other Personal                  Property Damage                  Relations                         861 HIA (1395ff)            490 Cable/Sat TV
  196 Franchise                            Injury                      385 Property Damage              740 Railway Labor Act                 862 Black Lung (923)        850 Securities/Commodities/
                                       362 Personal Injury -               Product Liability            751 Family and Medical                863 DIWC/DIWW (405(g))          Exchange
                                           Medical Malpractice                                              Leave Act                         864 SSID Title XVI          890 Other Statutory Actions
      REAL PROPERTY                      CIVIL RIGHTS                 PRISONER PETITIONS                790 Other Labor Litigation            865 RSI (405(g))            891 Agricultural Acts
  210 Land Condemnation                440 Other Civil Rights          Habeas Corpus:                   791 Employee Retirement                                           893 Environmental Matters
  220 Foreclosure                      441 Voting                      463 Alien Detainee                   Income Security Act              FEDERAL TAX SUITS          ✖ 895 Freedom of Information
  230 Rent Lease & Ejectment           442 Employment                  510 Motions to Vacate                                                  870 Taxes (U.S. Plaintiff       Act
  240 Torts to Land                    443 Housing/                        Sentence                                                                or Defendant)          896 Arbitration
  245 Tort Product Liability               Accommodations              530 General                                                            871 IRS—Third Party         899 Administrative Procedure
  290 All Other Real Property          445 Amer. w/Disabilities -      535 Death Penalty                    IMMIGRATION                            26 USC 7609                Act/Review or Appeal of
                                           Employment                  Other:                           462 Naturalization Application                                        Agency Decision
                                       446 Amer. w/Disabilities -      540 Mandamus & Other             465 Other Immigration                                             950 Constitutionality of
                                           Other                       550 Civil Rights                     Actions                                                           State Statutes
                                       448 Education                   555 Prison Condition
                                                                       560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖ 1    Original            2 Removed from                     3     Remanded from                 4 Reinstated or              5 Transferred from  6 Multidistrict                         8 Multidistrict
       Proceeding            State Court                            Appellate Court                 Reopened                     Another District      Litigation -                          Litigation -
                                                                                                                                 (specify)             Transfer                              Direct File
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         FOIA, 5 U.S.C. §.552
VI. CAUSE OF ACTION Brief description of cause:
                                         Withholding of requested records violates FOIA
VII. REQUESTED IN                             CHECK IF THIS IS A CLASS ACTION                           DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                  N/A                                         JURY DEMAND:                    Yes        ✖ No

VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                         JUDGE                                                                   DOCKET NUMBER
DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
07/08/2025                                                              /s Luz Arevalo         /s Joshua Rosenthal
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                      APPLYING IFP                                       JUDGE                           MAG. JUDGE
